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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                                               CASE NO.

  RHONDA HICKS,
  a citizen and resident of New York,

         Plaintiff,

  v.

  NCL (BAHAMAS) LTD.,
  A Bermuda corporation d/b/a
  NORWEGIAN CRUISE LINES,

        Defendant.
  ______________________________________/

                            COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiff RHONDA HICKS, a New York citizen and resident, sues Defendant NCL

  (BAHAMAS) LTD., a Bermuda corporation with its principal place of business in Florida, doing

  business as NORWEGIAN CRUISE LINES (NCL), and alleges:

                                 JURISDICTION, VENUE AND PARTIES

         1.      This is an action for damages in excess of seventy-five thousand ($75,000.00)

  dollars, exclusive of interest and costs.

         2.      Plaintiff RHONDA HICKS is sui juris and is a resident and citizen of the State of

  New York.

         3.      Defendant NCL (BAHAMAS) LTD. (NCL) is a Bermuda corporation doing

  business as NORWEGIAN CRUISE LINES, with its principal place of business in Miami,




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  Miami-Dade County, Florida. NCL is therefore a citizen both of Bermuda and of Florida for

  purposes of this action.

          4.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

  §1332, based on diversity of citizenship. The Plaintiff is a citizen and resident of the State of

  New York, while the Defendant is deemed a citizen of Florida and of Bermuda for federal

  jurisdictional purposes, so there is complete diversity of citizenship between the parties. The

  amount in controversy exceeds $75,000.00, the minimum jurisdictional amount for diversity

  cases. The damages and injuries alleged in Paragraphs 13 and 14, including tibia, fibula and

  ankle fractures, support an award of damages in excess of $75,000.00.

          5.      At all material times, Defendant NCL has conducted ongoing substantial and not

  isolated business activities in Miami-Dade County, Florida, in the Southern District of Florida,

  so that in personam jurisdiction over the Defendant exists in the United States District Court for

  the Southern District of Florida.

          6.      At all material times, NCL has engaged in the business of operating maritime

  cruise vessels for paying passengers, including the Plaintiff.

          7.      In the operative ticket contract, NCL requires fare paying passengers such as the

  Plaintiff to bring any lawsuit against it arising out of injuries or events occurring on the cruise

  voyage in this federal judicial district. Accordingly, venue is proper in this Court.

          8.      Venue is also proper in this district because NCL's principal place of business is

  located within this district.




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         9.      Plaintiff has complied with all conditions precedent to bringing this action. The

  Plaintiff gave the Defendant a timely written notice of claim as required by the ticket contract. A

  copy of the written notice of claim, dated October 12, 2018, is attached as Exhibit 1 and

  incorporated by reference.

                          LIABILITY AND DAMAGE ALLEGATIONS

                                     COMMON TO ALL COUNTS

         10.     At all material times, Defendant NCL was engaged in the business of operating

  maritime cruise vessels for fare paying passengers and for this purpose operated, among other

  vessels, the "Pride of America."

         11.     At all material times, Defendant NCL operated, managed, maintained and was in

  exclusive control of the Pride of America, including the staircases on the vessel.

         12.     At all material times, including the injury date of August 18, 2018, the Plaintiff

  was a fare paying passenger aboard the "Pride of America" and in that capacity was lawfully

  present aboard the vessel.

         13.     On August 18, 2018, while the Plaintiff was onboard the "Pride of America" as a

  fare paying passenger, she was descending a staircase on Deck 12 of the vessel when she slipped

  on a wet or slippery transient foreign substance on the stairs. The Plaintiff thereby slipped, fell

  and sustained serious injuries, including tibial, fibula and ankle fractures.

         14.     As a direct and proximate result of the fall described in the preceding paragraph,

  the Plaintiff was injured in and about her body and extremities, including tibial, fibula and ankle

  fractures, suffered pain therefrom, and sustained mental anguish, disfigurement, disability and


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  the inability to lead a normal life. Furthermore, she sustained loss of earnings and a loss of

  earning capacity in the past and future, and incurred medical, hospital, and other out of pocket

  and health care expenses in the past and future as a result of her injuries. These damages are

  permanent or continuing in their nature and the Plaintiff will continue to sustain and incur these

  damages in the future.

                               COUNT I - NEGLIGENT MAINTENANCE
                                         (VICARIOUS LIABILITY)

         15.     The Plaintiff adopts, realleges and incorporates by reference all allegations of

  Paragraphs 1 through 14 above and further alleges the following matters.

         16.     At all material times Defendant NCL owed the Plaintiff, as a fare paying

  passenger lawfully on board its vessel, a duty of reasonable care for her safety.

         17.     At all material times Defendant NCL was vicariously liable for any negligence or

  failure to exercise reasonable care by its crewmembers onboard the "Pride of America" while

  those crewmembers were acting or failing to act in furtherance of the business of the vessel.

         18.     At all material times there existed a hazardous condition on a staircase on Deck

  12 of the "Pride of America," to-wit: water or a wet or slippery transient substance on the stairs.

         19.     At all material times, the hazardous substance referred to in the preceding

  paragraph was in a high traffic area, a staircase on Deck 12 of the vessel, regularly traversed by

  large numbers of passengers and crewmembers on board the vessel.

         20.     At all material times, the hazardous substance on the Deck 12 staircase referred to

  above had existed for a long enough period of time that NCL crewmembers responsible for


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  maintenance on the vessel should have detected it, so that NCL through crewmembers acting in

  furtherance of the vessel's business had constructive knowledge of the presence of the substance

  and the hazard it posed.

         21.     As an alternative to the allegations in the preceding paragraph, at all material

  times the hazard referred to above, a wet or slippery transient substance on an onboard staircase,

  recurred so frequently and regularly, both on NCL vessels in general and on the "Pride of

  America" in particular, that NCL crewmembers responsible for maintenance on the vessel should

  have been alert to its potential presence and detected it during routine inspection and

  maintenance, so that NCL through crewmembers acting in furtherance of the vessel's business

  had constructive knowledge of the presence of the substance and the hazard it posed.

         22.     As an alternative to the allegations in the preceding two paragraphs, at all material

  times NCL through its crewmembers acting in furtherance of the vessel's business had actual

  knowledge of the presence of the hazardous wet or slippery substance on the Deck 12 staircase

  and the hazard it posed.

         23.     Notwithstanding the actual or constructive knowledge of NCL and its

  crewmembers alleged above, NCL's crewmembers on board the "Pride of America" responsible

  for maintenance of the vessel failed to detect or correct the hazardous condition of the staircase

  on Deck 12 before the Plaintiff slipped and fell as alleged in Paragraph 13 above.

         24.     The specific acts of negligence of NCL crewmembers responsible for

  maintenance of the Deck 12 staircase included failure to conduct routine inspections of the

  staircase to detect and correct hazards and failure to maintain the staircase. Since these acts and

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  omissions are acts and omissions of NCL crewmembers acting in furtherance of the vessel's

  business, maintenance of the vessel, NCL is vicariously liable for these negligent acts and

  omissions by its crewmembers.

          25.     As a direct and proximate result of the negligence of NCL crewmembers

  described above, for which NCL is vicariously liable as alleged above, the Plaintiff has sustained

  and will continue in the future to sustain the damages alleged in Paragraph 14.

          WHEREFORE, the Plaintiff demands judgment against NCL for compensatory

  damages and the costs of this action and further demands trial by jury of all issues so triable as

  of right.

                    COUNT II - NEGLIGENT FAILURE TO CORRECT HAZARD
                                          (VICARIOUS LIABILITY)

          26.     The Plaintiff adopts, realleges and incorporates by reference all allegations of

  Paragraphs 1 through 14 above and further alleges the following matters.

          27.     At all material times Defendant NCL owed the Plaintiff, as a fare paying

  passenger lawfully on board its vessel, a duty of reasonable care for her safety.

          28.     At all material times Defendant NCL was vicariously liable for any negligence or

  failure to exercise reasonable care by its crewmembers onboard the "Pride of America" while

  those crewmembers were acting or failing to act in furtherance of the business of the vessel.

          29.     At all material times there existed a hazardous condition on a staircase on Deck

  12 of the "Pride of America," to-wit: water or a wet or slippery transient substance on the stairs.




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         30.     At all material times, the hazardous substance referred to in the preceding

  paragraph was in a high traffic area, a staircase on Deck 12 of the vessel, regularly traversed by

  large numbers of passengers and crewmembers on board the vessel.

         31.     At all material times, the hazardous substance on the Deck 12 staircase referred to

  above had existed for a long enough period of time that NCL crewmembers responsible for

  maintenance on the vessel should have detected and corrected it, so that NCL through

  crewmembers acting in furtherance of the vessel's business had constructive knowledge of the

  presence of the substance and the hazard it posed.

         32.     As an alternative to the allegations in the preceding paragraph, at all material

  times the hazard referred to above, a wet or slippery transient substance on an onboard staircase,

  recurred so frequently and regularly, both on NCL vessels in general and on the "Pride of

  America" in particular, that NCL crewmembers responsible for maintenance on the vessel should

  have been alert to its potential presence and detected and corrected it during routine inspection

  and maintenance, so that NCL through crewmembers acting in furtherance of the vessel's

  business had constructive knowledge of the presence of the substance and the hazard it posed.

         33.     As an alternative to the allegations in the preceding two paragraphs, at all material

  times NCL through its crewmembers acting in furtherance of the vessel's business had actual

  knowledge of the presence of the hazardous wet or slippery substance on the Deck 12 staircase

  and the hazard it posed.

         34.     Notwithstanding the actual or constructive knowledge of NCL and its

  crewmembers alleged above, NCL's crewmembers on board the "Pride of America" responsible

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  for maintenance of the vessel failed to detect or correct the hazardous condition of the staircase

  on Deck 12, by cleaning the staircase, cordoning off the hazardous area, or other appropriate

  corrective action, before the Plaintiff slipped and fell as alleged in Paragraph 13 above.

          35.     Since the negligent acts and omissions of NCL's crewmembers described above

  were acts and omissions of NCL crewmembers acting in furtherance of the vessel's business,

  maintenance of the vessel, NCL is vicariously liable for these negligent acts and omissions by its

  crewmembers.

          36.     As a direct and proximate result of the negligence of NCL crewmembers

  described above, for which NCL is vicariously liable as alleged above, the Plaintiff has sustained

  and will continue in the future to sustain the damages alleged in Paragraph 14.

          WHEREFORE, the Plaintiff demands judgment against NCL for compensatory

  damages and the costs of this action and further demands trial by jury of all issues so triable as

  of right.

                    COUNT III - NEGLIGENT FAILURE TO WARN OF HAZARD

                                          (VICARIOUS LIABILITY)

          37.     The Plaintiff adopts, realleges and incorporates by reference all allegations of

  Paragraphs 1 through 14 above and further alleges the following matters.

          38.     At all material times Defendant NCL owed the Plaintiff, as a fare paying

  passenger lawfully on board its vessel, a duty of reasonable care for her safety.




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         39.     At all material times Defendant NCL was vicariously liable for any negligence or

  failure to exercise reasonable care by its crewmembers onboard the "Pride of America" while

  those crewmembers were acting or failing to act in furtherance of the business of the vessel.

         40.     At all material times there existed a hazardous condition on a staircase on Deck

  12 of the "Pride of America," to-wit: water or a wet or slippery transient substance on the stairs.

         41.     At all material times, the hazardous substance referred to in the preceding

  paragraph was in a high traffic area, a staircase on Deck 12 of the vessel, regularly traversed by

  large numbers of passengers and crewmembers on board the vessel.

         42.     At all material times, the hazardous substance on the Deck 12 staircase referred to

  above had existed for a long enough period of time that NCL crewmembers responsible for

  maintenance on the vessel should have detected it, so that NCL through crewmembers acting in

  furtherance of the vessel's business had constructive knowledge of the presence of the substance

  and the hazard it posed.

         43.     As an alternative to the allegations in the preceding paragraph, at all material

  times the hazard referred to above, a wet or slippery transient substance on an onboard staircase,

  recurred so frequently and regularly, both on NCL vessels in general and on the "Pride of

  America" in particular, that NCL crewmembers responsible for maintenance on the vessel should

  have been alert to its potential presence and detected it during routine inspection and

  maintenance, so that NCL through crewmembers acting in furtherance of the vessel's business

  had constructive knowledge of the presence of the substance and the hazard it posed.




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           44.     As an alternative to the allegations in the preceding two paragraphs, at all material

   times NCL through its crewmembers acting in furtherance of the vessel's business had actual

   knowledge of the presence of the hazardous wet or slippery substance on the Deck 12 staircase

   and the hazard it posed.

           45.     Notwithstanding the actual or constructive knowledge of NCL and its

   crewmembers alleged above, NCL's crewmembers on board the "Pride of America" responsible

   for maintenance of the vessel failed adequately to warn passengers including the Plaintiff of the

   hazardous condition of the staircase on Deck 12, by appropriate signs, markings, written or oral

   warnings, or otherwise, before the Plaintiff slipped and fell as alleged in Paragraph 13 above.

           46.     Since the negligent acts and omissions of NCL's crewmembers described above

   were acts and omissions of NCL crewmembers acting in furtherance of the vessel's business,

   maintenance of the vessel, NCL is vicariously liable for these negligent acts and omissions by its

   crewmembers.

           47.     As a direct and proximate result of the negligence of NCL crewmembers

   described above, for which NCL is vicariously liable as alleged above, the Plaintiff has sustained

   and will continue in the future to sustain the damages alleged in Paragraph 14.

           WHEREFORE, the Plaintiff demands judgment against NCL for compensatory

   damages and the costs of this action and further demands trial by jury of all issues so triable as

   of right.

                 COUNT IV - NEGLIGENT FAILURE TO PROMULGATE OR ENFORCE

                                  POLICIES (DIRECT LIABILITY)

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          48.     The Plaintiff adopts, realleges and incorporates by reference all allegations of

   Paragraphs 1 through 14 above and further alleges the following matters.

          49.     At all material times Defendant NCL owed the Plaintiff, as a fare paying

   passenger lawfully on board its vessel, a duty of reasonable care for her safety.

          50.     At all material times Defendant NCL's duty of reasonable care referenced in the

   preceding paragraph included a duty to promulgate and enforce policies providing for adequate

   and timely inspection and maintenance of vessels it operated and controlled, including the "Pride

   of America." This was duty owed directly by NCL to its passengers, including the Plaintiff.

          51.     At all material times Defendant NCL failed to promulgate or enforce policies

   providing for adequate and timely inspection and maintenance of the staircases on the "Pride of

   America."

          52.     Due to NCL's failure to promulgate and enforce policies providing for adequate

   and timely inspection and maintenance of the staircases on the "Pride of America," no such

   inspection and maintenance took place.

          53.     At all material times there existed a hazardous condition on a staircase on Deck

   12 of the "Pride of America," to-wit: water or a wet or slippery transient substance on the stairs.

          54.     At all material times, the hazardous substance referred to in the preceding

   paragraph was in a high traffic area, a staircase on Deck 12 of the vessel, regularly traversed by

   large numbers of passengers and crewmembers on board the vessel.

          55.     At all material times, the hazardous substance on the Deck 12 staircase referred to

   above had existed for a long enough period of time that, had NCL promulgated and enforced

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   policies providing for adequate and timely inspection of the onboard staircases, NCL

   crewmembers should and would have detected it before the time of Plaintiff's fall described in

   Paragraph 13 and would have had an opportunity to correct or warn of the condition before the

   Plaintiff fell.

           56.       As an alternative to the allegations in the preceding paragraph, at all material

   times the hazard referred to above, a wet or slippery transient substance on an onboard staircase,

   recurred so frequently and regularly, both on NCL vessels in general and on the "Pride of

   America" in particular, that, had NCL promulgated and enforced policies providing for adequate

   and timely inspection of the onboard staircases, NCL crewmembers should and would have

   detected it before the time of Plaintiff's fall described in Paragraph 13 and would have had an

   opportunity to correct or warn of the condition before the Plaintiff fell.

           57.       Notwithstanding the constructive knowledge of NCL and its crewmembers

   alleged above, due to NCL's failure to promulgate or enforce policies providing for adequate and

   timely inspection and maintenance of the staircases onboard the "Pride of America," no such

   inspection or maintenance took place and NCL failed to correct or warn of the condition before

   the Plaintiff fell as described in Paragraph 13.

           58.       As a direct and proximate result of the negligence of NCL described above, the

   Plaintiff has sustained and will continue in the future to sustain the damages alleged in Paragraph

   14.




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           WHEREFORE, the Plaintiff demands judgment against NCL for compensatory

   damages and the costs of this action and further demands trial by jury of all issues so triable as

   of right.

                            COUNT V - NEGLIGENT DESIGN OF STAIRCASE

                                             (DIRECT LIABILITY)

           59.     The Plaintiff adopts, realleges and incorporates by reference all allegations of

   Paragraphs 1 through 14 above and further alleges the following matters.

           60.     At all material times Defendant NCL owed the Plaintiff, as a fare paying

   passenger lawfully on board its vessel, a duty of reasonable care for her safety.

           61.     At all material times Defendant NCL's duty of reasonable care referenced in the

   preceding paragraph included a duty to design and install onboard staircases in a condition

   reasonably safe for passengers traversing those staircases, through the use of available non-skid

   stair surfaces having a reasonably safe coefficient of friction.

           62.     At all material times Defendant NCL failed to install adequate non-skid surfacing

   materials on the staircases onboard the "Pride of America," resulting in an unsafe coefficient of

   friction on those staircases and in particular on the staircase on Deck 12 of the vessel.

           63.     Since NCL's failure to install adequate non-skid surfacing materials on the

   staircases onboard the "Pride of America" and in particular on the staircase on Deck 12 of the

   vessel involved the design of the vessel, NCL is directly liable for this failure.

           64.     Due to NCL's failure to install adequate non-skid surfacing materials on the

   staircases onboard the "Pride of America" and in particular on the staircase on Deck 12 of the

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   vessel, the surface on the staircase at all material times had a coefficient of friction too low to be

   safe for passengers traversing the staircase such as the Plaintiff.

          65.     At all material times, the staircase on Deck 12 of the vessel was in a high traffic

   area regularly traversed by large numbers of passengers and crewmembers on board the vessel.

          66.     The hazardous condition of the staircase referred to above, its unsafely low

   coefficient of friction, had existed for a for a long enough period of time that NCL should have

   detected and corrected it before the time Plaintiff fell as described in Paragraph 13.

          67.     As an alternative to the allegations in the preceding paragraph, the hazardous

   condition of the staircase referred to above, its unsafely low coefficient of friction, recurred so

   regularly and frequently on staircases on NCL vessels that NCL should have detected and

   corrected it before the time Plaintiff fell as described in Paragraph 13.

          68.     As an alternative to the allegations in the preceding two paragraphs, NCL at all

   material times had actual knowledge of the hazardous condition of the staircase on Deck 12 of

   the "Pride of America."

          69.     Notwithstanding the actual or constructive knowledge of NCL due to NCL's

   failure to install adequate non-skid surfaces on the staircase on Deck 12 of the "Pride of

   America," the staircase continued to exhibit an unsafe coefficient of friction at the time the

   Plaintiff fell as described in Paragraph 13.

          70.     As a direct and proximate result of the negligence of NCL described above, the

   Plaintiff has sustained and will continue in the future to sustain the damages alleged in Paragraph

   14.

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           WHEREFORE, the Plaintiff demands judgment against NCL for compensatory

   damages and the costs of this action and further demands trial by jury of all issues so triable as

   of right.

                                     DEMAND FOR JURY TRIAL

           The Plaintiff hereby demands trial by jury of all issues so triable as of right.

   Executed this 1st day of November, 2019.

                                                  s/NICHOLAS I. GERSON
                                                  PHILIP M. GERSON
                                                  Florida Bar No. 127290
                                                  pgerson@gslawusa.com
                                                  NICHOLAS I. GERSON
                                                  Florida Bar No. 0020899
                                                  ngerson@gslawusa.com
                                                  EDWARD S. SCHWARTZ
                                                  Florida Bar No. 346721
                                                  eschwartz@gslawusa.com
                                                  DAVID L. MARKEL
                                                  Florida Bar No. 78306
                                                  dmarkel@gslawusa.com
                                                  RAUL G. DELGALDO II
                                                  Florida Bar No. 94004
                                                  rdelgado@gslawusa.com
                                                  GERSON & SCHWARTZ, P.A.
                                                  1980 Coral Way
                                                  Miami, Florida 33145
                                                  Telephone:     (305) 371-6000
                                                  Facsimile:     (305) 371-5749
                                                  Attorneys for Plaintiffs




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